
691 S.E.2d 713 (2010)
STATE of North Carolina
v.
Christopher N. GOOCH.
No. 334P09.
Supreme Court of North Carolina.
January 28, 2010.
Christopher N. Gooch, pro se.
Chris Z. Sinha, Assistant Attorney General, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 17th of August 2009 in this matter for a writ of certiorari to review the order of the Superior Court, Vance County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 28th of January 2010."
Upon consideration of the petition filed by Defendant on the 17th of August 2009 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*714 "Dismissed by order of the Court in conference, this the 28th of January 2010."
